













NUMBER 13-04-681-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


                                                                                                                      


JAMES EDWARD LEWIS,							Appellant,


v.



JANIE COCKRELL DIRECTOR:

T.D.C.J., ET AL.,								Appellees.

                                                                                                                                      


On appeal from the 267th District Court of De Witt County, Texas.


                                                                                                                      


MEMORANDUM OPINION



Before Chief Justice Valdez and Justices Yañez and Benavides 


Memorandum Opinion by Justice Yañez


									

	Appellant, James Edward Lewis, is a pro se inmate who brought suit against prison
personnel.  Appellant appeals from a trial court judgment dismissing his suit for want of
prosecution.  We affirm.

	On May 28, 2003, appellant filed suit against appellees, alleging that his
confinement was unconstitutional for several reasons.  The suit was dismissed for want of
prosecution on December 6, 2004.

	Appellant raises five issues on appeal.  In these issues, appellant asserts that his
confinement is unconstitutional.  Appellant's brief does not purport to address the propriety
of the trial court's order dismissing his case for want of prosecution.  Therefore, appellant
has failed to preserve any error arising from the trial court's order dismissing his case for
want of prosecution. (1)  Accordingly, we overrule appellant's five issues and affirm the trial
court's judgment.



                                                                                                                                  

							LINDA REYNA YAÑEZ,

							Justice







Memorandum Opinion delivered and filed 

this the 28th day of February, 2008.

1.  See Tex. R. App. P. 38.1(e), (h); Pat Baker Co. v. Wilson, 971 S.W.2d 447, 450 (Tex. 1998) ("It is
axiomatic that an appellate court cannot reverse a trial court's judgment absent properly assigned error."); see
also Wheeler v. Green, 157 S.W.3d 439, 444 (Tex. 2005) (stating that "pro se litigants are not exempt from
the rules of procedure").

